Case 4:19-cr-00116-O Document 6 Filed 02/19/19 Page 1 of 1 Page|D 6

 

 

UNlTED STATES DlSTRlCT COURT

NORTHERN DlSTRlCT OF TEXAS AT FORT WORTH

UNlTED STATES OF AMERICA z 7
v. Case Number: 4:19-MJ-1;l67\l“1~)1'§l

osCAR oREGEL sR. (01)

_n...-__,.._._\, _ ______

NoE GARCIA (02)

 

ORDER OF TEMPORARY DETENTION AN`D""*-'~);L_`______“J

SCHEDULING DETENTION AND PRELIMINARY HEARING

Upon motion of the Assistant United States Attorney, it is ordered that a detention1 and preliminary hearing
is set for Friday, February 22, 2019 at 2:()0 p.m. before United States Magistrate Judge Jeffrey L. Cureton, 501 W.
10th Street, Fort Worth, Texas. All attorneys are required to appear in court 15 minutes prior to the hearing

lt is further ordered that pending this hearing, the defendant shall be detained in the custody of the United

States l\/[arshal and produced for the hearing set forth above.

Signed: February 19, 2019

 

 

JEFFREY URET'oN
UNITE ATES MAGISTRATE JUDGE

 

l lf not held immediately upon defendant’s first appearance, the detention hearing may be
continued for up to three days upon motion of the Government, or up to five days upon motion of
the defendant, 18 U.S.C. Section 3142(®(2).

